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                                  Angela Colmenero Opinions
                              
                          
                                  AC-0004
                              
                        
          
        
      
    
  

  

  
    
      AC-0004
              Angela Colmenero
                  
        Categories
                        
Penal Institutions
              , 
State
              , 
Prisoners
              , 
Sheriffs and Constables
              , 
Authority and Duties
              , 
State Boards, Commissions, Departments
              , 
Criminal Justice, Department of
        
      
            
                  Summary
                      Addressing the responsibility of the Texas Department of Criminal Justice to reimburse counties for the transportation of inmates from county jails to state jail facilities, including remedies if reimbursement is not made, or if inmates are not transferred by the statutory deadline.
      
                          
            Opinion File
                         ac-0004.pdf 

      
          
                
        
      
    

          
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    RQ-0501-KP

      
  
                March 10, 2023

      
  
      
      
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                     RQ0501KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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